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     Attorney for Defendant
 6
     AVTAR BAINS

 7
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      )       No. 2:13-CR-00006 MCE
11
                                                    )
                                                    )       STIPULATION REGARDING
            Plaintiff,                              )       EXCLUDABLE TIME PERIODS UNDER
12
                                                    )       SPEEDY TRIAL ACT; ORDER
     v.                                             )
13
                                                    )
14   JIT KAUR, et. al.,                             )
                                                    )
                                                    )
15          Defendants.                             )
                                                    )
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                                                    )
                                                    )
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                                                    )
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22
                                         STIPULATION
23          Plaintiff United States of America, by and through its counsel of record, and the

24   defendants, by and through each counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on November 21, 2013, at 9:00
26
     a.m.
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            2.      By this stipulation, the defendants now move to continue the status conference



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     until January 30, 2013, at 9:00 a.m., and to exclude time between November 21, 2013, and
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 2   January 30, 2014, under Local Code T4. Plaintiff does not oppose this request.

 3          3.       The parties agree and stipulate, and request that the Court find the following:
 4
            a.       The government has represented that the discovery associated with this case
 5
     includes approximately 7,722 pages of investigative reports and related documents in electronic
 6

 7
     form which includes FBI-302s, interview memoranda, the search warrants and affidavit, redacted

 8   transcripts of recorded conversations and telephone calls, business records from the Employment
 9   Development Department, and deposition transcripts from the prior civil case. The government
10
     has also made available for inspection and copying additional business records from the
11
     Employment Development Department. These records are voluminous.
12

13          b.       Counsel for all of the defendants desires additional time to consult with their

14   respective clients, to review the current charges, to conduct investigation and research related to
15
     the charges, to review and copy discovery for this matter, to discuss potential resolutions with
16
     their clients, to prepare pretrial motions, and to otherwise prepare for trial.
17
            c.       Counsel for the defendants believe that failure to grant the above-requested
18

19   continuance would deny them the reasonable time necessary for effective preparation, taking into

20   account the exercise of due diligence.
21
            d.       The government does not object to the continuance.
22
            e.       Based on the above-stated findings, the ends of justice served by continuing the
23

24
     case as requested outweigh the interest of the public and the defendants in a trial within the

25   original date prescribed by the Speedy Trial Act.
26          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
27
     et seq., within which trial must commence, the time period of November 21, 2013, and January
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     30, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local
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 2   Code T4] because it results from a continuance granted by the Court at defendants’ request on

 3   the basis of the Court's finding that the ends of justice served by taking such action outweigh the
 4
     best interest of the public and the defendants in a speedy trial.
 5
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 6

 7
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within

 8   which a trial must commence.
 9

10
     IT IS SO STIPULATED.
11
     Dated: November 19, 2013                                       U.S. ATTORNEY
12

13                                                          by:     /s/ David D. Fischer for
                                                                    JARED C. DOLAN
14                                                                  Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
15

16
     Dated: November 19, 2013                                       /s/ David D. Fischer
17                                                                  DAVID D. FISCHER
                                                                    Attorney for Defendant
18
                                                                    Avtar Kaur Bains
19
     Dated: November 19, 2013                                       /s/ David D. Fischer for
20                                                                  DAN KOUKOL
                                                                    Attorney for Defendant
21
                                                                    MO PEGANY
22
     Dated: November 19, 2013                                       /s/ David D. Fischer
23                                                                  DWIGHT SAMUEL
24
                                                                    Attorney for Defendant
                                                                    BALKAR SINGH
25
     Dated: November 19, 2013                                       /s/ David D. Fischer for
26                                                                  MICHAEL BIGELOW
27
                                                                    Attorney for Defendant
                                                                    HARVINDER KAUR
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 1

 2   Dated: November 19, 2013                      /s/ David D. Fischer for
                                                   A. STANLEY KUBOCHI
 3                                                 Attorney for Defendant
                                                   SUKHWINDER KAUR
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 7                                    ORDER
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           IT IS SO ORDERED.

10   Dated: November 21, 2013
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